                  THE THIRTEENTH COURT OF APPEALS

                                   13-16-00042-CV


             Happy Endings Dog Rescue, a Texas Non-Profit Corporation
                                       v.
                  Jon Layne Gregory, DVM and Donna J. Gregory


                                   On appeal from the
                    414th District Court of McLennan County, Texas
                             Trial Cause No. 2013-3278-5


                                     JUDGMENT

      THE THIRTEENTH COURT OF APPEALS, having considered this cause on

appeal, concludes the judgment of the trial court should be reversed and rendered. The

Court orders the judgment of the trial court REVERSED and RENDERS judgment that

the Gregories take nothing. Costs of the appeal are adjudged against appellees.

      We further order this decision certified below for observance.

September 2, 2016
